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                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

  KRISTY BETH PATTERSON,

           Plaintiff,                                               Case No.: 1:24-cv-07418

   v.                                                               Judge Manish S. Shah

   THE PARTNERSHIPS AND UNINCORPORATED                              Magistrate Judge Jeffrey Cole
   ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

           Defendants.

                                   NOTICE OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                NO.                                  DEFENDANT
                 25                                 DesignMetalSign
                 62                                       TIN66
                 13                                  Zeng5656 lihan
                 17                                 Zhou 6985Zuliang
                108                                     ZYFANG
                116                                    This evening
                 47                                    dongzhuo99
                118                               Runming Department
                 12                                    Youjia Shop
                 73                               Ohno Tin Signs Store
                  9                    zhongxiangshiweihexishangmaoyouxiangongsi
                 39                                 yiguipingdedianzy
                 30                                   gemini SHOP
                 60                                    JunMaoHua
                 61                               TONGZHENGOODS
                132                                  Strongest storm
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DATED: September 27, 2024                   Respectfully submitted,

                                            /s/ Keith A. Vogt
                                            Keith A. Vogt (Bar No. 6207971)
                                            Keith Vogt, Ltd.
                                            33 W. Jackson Blvd., #2W
                                            Chicago, Illinois 60604
                                            Telephone: 312-971-6752
                                            E-mail: keith@vogtip.com

                                            ATTORNEY FOR PLAINTIFF
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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on September 27, 2024 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt
